                             United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                            SIMRMANDIVISION

FROSTINE NEWBERRY             ANd   RICIIARD          $
NEWBERRY,                                             $
                                                      $      Civil Action No . 4:79-cv-147
Plaintiffs,                                           $      Judge Mazant
                                                      $
                                                      $
                                                      $
ROSA LOPEZ, d/b/aA & RRENT-A-                         $
FENCE                                                  $
                                                       $
Defendant.                                             $
                                                       $



                                    VERDICT OT'THT'. JI]RY

           We, the Jury, find as follows:




           Did you find by a preponderance of evidence the negligence,            if   any, of those named

below proximately caused the i4iury or occturence in question?

     With respect to the condition of the premi     ses,    A&R Rent-A-Fence was rlegligent     if-
      1. The condition existed on the construction premises that posed an unreasonable risk of
           harm, and

     2. A&R Rent-A-Fence eilher owned,       possessed, or exercised contol over the construction
           premises or created a dangerous condition on the construction premises, and
     3. A&R Rent-A-Fence knew            or reasonably should have }:nown of the danger, and

     4. A&R Rent-A-Fence failed to exercise ordinary care to protect Plaintiff from the danger,
        by both failing to adequately wam Plaintiff of the condition and failing to make that
            condition reasonably safe.


      With respect to the condition of the premi     ses,   Fred Olivieri was negligent   if-
      l.   The condition existed on the construction premises that posed an unreasonable risk of
            harm, and



                                                       1
   2. Fred Olivieri Construction Company either owned,       possessed, or exercised control over
         the construction premises or created a dqngerouri condition on the construction premises,
         and

   3. Fred Olivieri Construction Company knew or reasonably should have known of the
         danger, and

   4. Fred Olivieri Construction Company failed to exercise ordinary care to protect Plaintiff
         from the danger, by both failing to adequately wam Plaintiff of the condition and failing
         to make that condition reasonably safe.


   With respect to the condition of rhe premi      ses   Discount Waste, Inc. was negligent    if-
    l.   The condition existed on the constuction premises that posed an unreasonable' risk of
         harm, and

   2. Discount Waste, Inc. either owned     possessed, or exercised control over the coostruction
         premises or created a dangerous condition on the construction prernises, and

    3. Discount Waste, Inc. knew or reasonably           should have known of the danger, and

    4. Discount Waste, Inc. failed to exercise ordinary care to protect Plaintiff from the danger,
       by both failing to adequately wam Plaintiff of the condition and failing to make that
         condition reasonably safe.


         lnanswering this question, do not consider PlaiatifPs failure,            if   any,   to    exercise
reasonable care in caring for or treating her injury, if any.


Answer "Yes"    or'No" for   each of the   following:

                       Newberry
         PlahtiffFrostire                          No
         A&R Rent-A-Fenc.                           No

         Fred olivieri                              fa{t

         Discount Waste, Inc.




If you   answered .Yes, to Question No.        I   for more than one of those named, then proceed

to Question No.      2. If you answered      .Yes" to Questiou 1 for ElaintitE       p&,       then do not

answer any of the following questions and proceed to the sip.ature line.




                                                     2
Ouestion No.2

        For each person you answered yes to in question No. 1, find the percentage of

responsibility atfibutable to each. Please answer in whole number percentages that total to 100

percent.

           PlaintiffFrostine     Newberry                              %

           A&R     Rent-A-Fence                                        %

           Fred   Olivieri                                             %

           Discor:nt   Waste,Inc.                                      %




           TOTAL                                                               1000h

Proceed to Question No.3.




Ouestion No.3

           What s1rm of money,             if paid now in cash, would fairly and reasonably compensate
Plaintiff Frostine Newberry for her injuries, if any, that resulted from the injury or occurrence in

question? Consider the elements of damages listed below and none other. Answer in dollars and

cents   for      damages,   if   dny. Do not decrease the amount     of   damages   for any negligence of

Plaintiff, if any.

           a.    Physical pain sustained in the past.

                     Amount:      $   o
           b.     Physicat pain that, in reasonable probability, Plaintiffwill sustain in the future.

                     Amor:nt:     $   c)
            c.    Mental anguish sustained in the past.


                                                          a
                                                          3
                  Amount: $        o
        d.     Mental anguish that, in reasonable probability, Plaintiff will sustain in the future.

                  Amount: $        D
         e.    Medical care expenses in the past.

                  Amotmt:    $-Q-
         f.    Disfigurement sustained in the past.

                  Amount:    $     o
         c.    Disfigurement that, in reasonable probability, Plaintiff will sustain in the future.

                   Amount: $       D
Proceed to Question No. 4.




         What sum of money,            if   paid now in casb, would fairly and reasonably compensate

Plaintiff Richard Newberry for his injuries, if any, that resulted from the injury or occurrence to

his wife? Consider the elements of damages listed belpw and none other. Answer in dollars and

cents   for damages, if any.

         a.      Loss of consortium sustained in the past

                   Amount: $

         b.    Loss of consortium that, in reasonable probability, Plaintiffwill sustain in the future.

                   Amount: $       o
          c.    Loss of household services sustained in the past.

                   Amount:     $




                                                         4
        d. Loss of household services that, in reasonable   probability, Plaintiffwill sustain in the

           future

               e.     Amount:   $b
Proceed to Question No. 5




Ouestion No.5

Do you find that PlaintiffFrostine Newberry failed to mitigate her darnages?


        Answer: % a

If   you answered '6Yes" to Question No. 5, then answer the following Question No. 6.

Otherwise, proceed to the signature line.




Ouestion No.6

        What sr:m    of damages would Plaintiff Frostine       Newberry have avoided had                   she


reasonably mitigated hs1 damages?


         Answer:    {o                  C-tL t"l-o\ uud.            i
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Please proceed to the signature   line. a_,,1* Lr".ou.: ., L{ okt*r                  .*Ft           t1^."-
                                        ,"^..flt Lo,.^,< b"o.-,




Date:      aldze,,                                   Foreperson:



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